









Dismissed and Opinion filed July 17, 2003









Dismissed and Opinion filed July 17, 2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO.
14-03-00131-CV

____________

&nbsp;

PAUL
STURGEON, Appellant

&nbsp;

V.

&nbsp;

GARY
JOHNSON, Appellee

&nbsp;



&nbsp;

On
Appeal from the 11th District Court

Harris
County, Texas

Trial
Court Cause No. 00-18773

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O P I N I O N

This is an appeal from a judgment signed December 6,
2000.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On June 17, 2003, notification was transmitted to all parties
of the Court's intent to dismiss the appeal for want of prosecution unless,
within fifteen days, appellant paid or made arrangements to pay for the record
and provided this court with proof of payment.&nbsp;
See Tex. R. App. P. 37.3(b).








Appellant filed no response.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

Judgment rendered and Opinion
filed July 17, 2003.

Panel consists of Justices
Anderson, Seymore, and Guzman.

&nbsp;





